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                     IN THE UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF TENNESSEE

IN RE:         WILLIAM TAGG                                                       CHAPTER 11
               Debtors                                                   CASE NO. 21-23424-JDL

       TRUSTEE’S FIRST STATUS REPORT PURSUANT TO 11 U.S.C. § 1188(C)

       COMES NOW Craig M. Geno, the operating Subchapter V Trustee in the above styled and

numbered case (the “Trustee”), and files this his First Status Report Pursuant to 11 U.S.C. § 1188(c)

(the “Report”), and in support thereof, would respectfully show unto this Honorable Court as

follows, to-wit:

       1.      In this Subchapter V Chapter 11 case, the Debtor initiated this case by the filing of

its Voluntary Petition on October 18, 2021, and proceeded as Debtor-in-possession.

       2.      I was appointed as Subchapter V Trustee on October 20, 2021.

       3.      The Office of the United States Trustee (the “UST”) filed its Motion to Remove

Debtor as Debtor-in-Possession Pursuant to 11 U.S.C. § 1185(a) [DK #121] to remove Debtor as

Debtor-in-possession pursuant to 11 U.S.C. § 1185(a). On March 17, 2022, the Court heard and

considered the motion to remove and granted it pursuant to an Order [DK #123] entered on March 22,

2022, removing the Debtor-in-possession so that I became the operating trustee.

       4.      The Court has also entered its Order [DK #137] authorizing the sale of the first floor

of a Florida condominium project that is technically titled to Charleston II Builders, Inc. This first

floor is sometimes referred to as Unit 1 or Unit A. Subsequent to the entry of the order authorizing

the sale of Unit 1, the Trustee, the Debtor and PHH Mortgage Corporation (“PHH”) have worked

diligently to supply documents and related papers requested by the entity that is conducting the

closing of the sale of Unit 1 to the purchaser, who is noted in the sale order. Some of the requested

documents have been submitted. Some are in transmission and the Trustee anticipates a closing of
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Unit 1 during the week of May 23, 2022. The sale proceeds will be used to pay, in full, the purported

first lien of PHH, with the remaining funds being returned to the Trustee for deposit in an interest-

bearing, escrow account, established pursuant to the rules and regulations established by the Office

of the United States Trustee.

       5.      In the meantime, the Debtor has caused to be transferred to the Trustee the sales

proceeds of a lot that was sold by Charleston II Builders, Inc. in Germantown, Tennessee. The

Trustee is depositing those funds also into an interest-bearing, escrow account, established pursuant

to the rules and regulations established by the Office of the United States Trustee.

       6.      The Debtor and the Trustee continue in discussions with respect to possible claims

objections to the claims of secured creditors in this case, and also with respect to the funding of the

remaining claims (after PHH is paid) in the case by members of the Debtor’s family incurring

sufficient debt to pay the “shortfall” of the remaining creditors’ claims that will exist once the sale

of Unit 1 has been concluded.

       7.      Lastly, once the Trustee receives the settlement statement from the sale of the

Germantown, Tennessee, lot, a report of sale will be filed, even though that property is technically

titled to Charleston II Builders, Inc. The funds will be dealt with at a later point in this case.

       8.      Otherwise, the administrative functions of the case are being carried out. The Debtor

has not filed his monthly operating reports but is in the process of doing so. Once the Debtor files

the monthly operating reports up to the point in time when I was appointed as operating trustee, then

I will pick up the obligation of filing monthly operating reports from that date forward until the

conclusion of the case.




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               THIS, the 19th day of May, 2022.

                                                                                              Respectfully submitted,

                                                                                              CRAIG M. GENO, SUBCHAPTER V TRUSTEE

                                                                                              By His Attorneys,

                                                                                              LAW OFFICES OF CRAIG M. GENO, PLLC



                                                                                              By: /s/ Craig M. Geno
                                                                                                      Craig M. Geno


OF COUNSEL:

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                                                                   CERTIFICATE OF SERVICE

         I, Craig M. Geno, do hereby certify that I have caused to be served this date, via electronic
filing transmission, a true and correct copy of the above and foregoing to the following:

               Jamaal M. Walker, Esq.                                                                          David W. Houston, IV, Esq.
               Office of the United States Trustee                                                             dhouston@burr.com
               jamaal.walker@usdoj.gov
                                                                                                               Ted I. Jones, Esq.
               Reid Stephens Manley, Esq.                                                                      dtedijones@aol.com
               rmanley@burr.com

               THIS, the 19th day of May, 2022.



                                                                                              /s/ Craig M. Geno
                                                                                              Craig M. Geno


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